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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
            v.                       )  Case No. 1:17-cr-201-1-ABJ
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

                  ORDER TERMINATING ANCILLARY PROCEEDINGS

        Upon consideration of the United States’ Motion to Dismiss Properties and to Terminate

Ancillary Proceedings, in which it seeks dismissal of this Court’s March 13, 2019, preliminary

order of forfeiture with respect to all properties for which no final order of forfeiture has been

entered in light of the December 23, 2020, pardon of Defendant Paul J. Manafort, Jr., it is:

        ORDERED that the motion is hereby GRANTED, and that this Court’s March 13, 2019,

Order of Forfeiture is VACATED with respect to the properties identified in paragraphs 2(a),

(c), (d), and (h), as follows:

        a) The real property and premises commonly known as 377 Union Street, Brooklyn,
           New York 11231 (Block 429, Lot 65), including all appurtenances, improvements,
           and attachments thereon, and any property traceable thereto;

        c) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New
           York 11976, including all appurtenances, improvements, and attachments thereon,
           and any property traceable thereto;

        d) All funds held in account number XXXXXX0969 at The Federal Savings Bank, and
           any property traceable thereto;




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       h) The real property and premises commonly known as 123 Baxter Street, #5D, New
          York, New York 10016.

       It is FURTHER ORDERED that the United States shall maintain the funds enumerated

in paragraph 2(d) in the Seized Assets Deposit Fund of the United States Department of Justice

until further Order of the Court regarding the legal owner of the funds to whom the funds should

be released.

       It is FURTHER ORDERED that the Petitions of Woodlawn, LLC, The Federal Savings

Bank, National Bancorp Holdings, Inc. and Christopher Doyle (Mc. Dkt. Nos. 8, 9, 14, 15, 17,

20, 21) are DISMISSED as moot;

       It is FURTHER ORDERED that the ancillary proceedings regarding the March 13,

2019, Order are HEREBY TERMINATED and all discovery deadlines and pending motions in

the ancillary proceedings are DISMISSED and VACATED.

       SO ORDERED.


                   26th day of _______,
       Dated this _____        February 2021.




                                     ___________________________________________
                                     THE HONORABLE AMY BERMAN JACKSON
                                     UNITED STATES DISTRICT JUDGE




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